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                                  MINUTE ORDER



   CASE NUMBER:            CV NO. 14-00217HG-KSC
   CASE NAME:              Cara Barber, et al. Vs. Ohana Military Communities, LLC, et
                           al.
   ATTYS FOR PLA:
   ATTYS FOR DEFT:
   INTERPRETER:


        JUDGE:       Kevin S. C. Chang            REPORTER:

        DATE:        09/06/2016                   TIME:


  COURT ACTION:

  After conducting an in camera review of the three e-mail messages delivered by attorney
  Whatoff on August 31,2016, the Court finds and concludes that the e-mail messages are
  not relevant to the issues which are the subject of the hearing on the Order to Show Cause
  Regarding Violations of the Settlement Agreement, and therefore, are not discoverable.
  The Court will take no further action on the letter briefs dated August 26, 2016 submitted
  by counsel. It is so ordered.


  Submitted by Leslie L. Sai, Courtroom Manager
